        Case 1:24-cv-07118-AKH           Document 21        Filed 12/13/24      Page 1 of 1




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                                        December 13, 2024

By ECF and Facsimile

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:      Kristi Jordan v. Crunch, LLC, No. 1:24-cv-7118
                 Unopposed Letter Motion for Extension of Time to Oppose Motion to Compel
                 Arbitration

        Dear Judge Hellerstein,

        We represent Plaintiff Kristi Jordan in the above-referenced action. Pursuant to Rule 7.1(d)
of the Local Rules of the United States District Courts for the Southern and Eastern Districts of
New York and Rule 1(D) of this Court’s Individual Rules, we write to request that Plaintiff’s
deadline to oppose Defendant’s Motion to Compel Arbitration (ECF No. 18), currently December
20, 2024, be extended to January 20, 2025. Defendant consents to this request.

        This is Plaintiff’s first request for an extension of its deadline to respond to the Motion to
Compel Arbitration. Plaintiff respectfully submits that there is good cause for the extension given
that Plaintiff’s counsel is evaluating whether to seek discovery from Defendant on contract
formation issues which directly bear on the Motion to Compel Arbitration. Plaintiff’s counsel
further has several deadlines in other matters which require their attention over the next week.

       At present, there is a telephonic status conference with the Court scheduled for January 17,
2025. We take no position and respectfully defer to the Court as to whether this conference should
proceed as scheduled or be postponed.

                                                              Respectfully submitted,

                                                              /s/ Tyler K. Somes
                                                              Tyler K. Somes

cc: Counsel of record (via ECF)
